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11 Counterclaimant TP-Link USA Corporation

12
                              UNITED STATES DISTRICT COURT
13                           CENTRAL DISTRICT OF CALIFORNIA
14                                   WESTERN DIVISION
15
     THIMES SOLUTIONS INC.,                       CASE NO.: 2:19-cv-10374-SB-E
16

17              Plaintiff,                        DISCOVERY MATTER
18        v.                                      TP-LINK USA’S NOTICE OF
19                                                MOTION TO COMPEL
     TP-LINK USA CORPORATION, and                 DISCOVERY
20 AUCTION BROTHERS, INC. d/b/a

21 AMAZZIA,                                       Date: August 26, 2022
                                                  Time: 9:30 a.m.
22              Defendants.                       Courtroom: 750, 7th Floor
23
                                                  Discovery Cut-Off:       Sept. 30, 2022
24                                                Pretrial Conference:     Dec. 30, 2022
25                                                Trial Date:              Jan. 9, 2023
26                                                Complaint Filed:    May 29, 2019
27                                                Amended 5th Amended
                                                  Complaint Filed     May 27, 2022
28

                                                                         No. 2:19-cv-10374-SB-E
                             TP-LINK USA’S NOTICE OF MOTION TO COMPEL
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 1 TP-LINK USA CORPORATION,

 2
               Counterclaimant,
 3

 4        v.

 5 THIMES SOLUTIONS INC.,

 6
               Counter-Defendant.
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                                                                   No. 2:19-cv-10374-SB-E
                        TP-LINK USA’S NOTICE OF MOTION TO COMPEL
Case 2:19-cv-10374-SB-E Document 201 Filed 08/03/22 Page 3 of 4 Page ID #:2463



 1                                NOTICE OF MOTION
 2 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 3        PLEASE TAKE NOTICE that on August 26, 2022 at 9:30 a.m., or as soon
 4 thereafter as the parties may be heard, at the Roybal Federal Building and United States

 5 Courthouse located at 255 East Temple Street, Los Angeles, California 90012,

 6 Courtroom 750, 7th Floor, before the Honorable Charles F. Eick, Defendant and

 7 Counterclaimant TP-Link USA Corporation (“TP-Link”) will and hereby does move

 8 pursuant to Federal Rules of Civil Procedure 33 and 34 and Local Rule 37-2 for an

 9 order compelling Plaintiff and Counter-Defendant Thimes Solutions Inc. (“Thimes”)

10 to:

11        1.     respond to TP-Link’s Requests for Production, Set One;
12        2.     respond to TP-Link’s Interrogatories, Set One;
13        3.     produce ESI as the information and documents is kept in the usual course
14 of business as required by Rule 34(B)(2)(E), including load files with the original

15 metadata; and

16        4.     require Thimes to supplement its responses and complete document
17 production by August 31, 2022.

18        This Motion is based on the following: this Notice of Motion, the concurrently
19 filed Joint Stipulation, Declaration of Heather F. Auyang, and all other papers,

20 documents or exhibits on file or to be filed in this action, the argument to be made at

21 the hearing on the Motion, and any and all other matters this Court deems just and

22 necessary.

23

24 Date: August 3, 2022                           LTL ATTORNEYS LLP
25
                                             By: /s/ Heather F. Auyang
26                                               Joe H. Tuffaha
                                                 Prashanth Chennakesavan
27
                                                 Heather F. Auyang
28                                               Patice A. Gore
                                              1                         No. 2:19-cv-10374-SB-E
                          TP-LINK USA’S NOTICE OF MOTION TO COMPEL
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 2                                             Counsel for Defendant and
                                               Counterclaimant
 3                                             TP-Link USA Corporation
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                        TP-LINK USA’S NOTICE OF MOTION TO COMPEL
